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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                   )
                                           )
                            vs.            )       Docket Number: 1:04CR05028-01 OWW
                                           )
JEFFREY CHUNG                              )
                                           )


On September 20, 2004, the above-named was placed on Supervised Release for a period
of 3 years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision. The Government has been informed
and is not opposed to this recommendation.

                                    Respectfully submitted,

                                     /s/ Hubert J. Alvarez

                                  HUBERT J. ALVAREZ
                          Senior United States Probation Officer

Dated:         July 8, 2008
               Fresno, California
               HJA;ra


REVIEWED BY:         Bruce A. Vasquez
                     BRUCE A. VASQUEZ
                     Supervising United States Probation Officer




                                                                                                         R ev. 05/2006
                                                              E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
         Case 1:04-cr-05028-OWW Document 41 Filed 07/29/08 Page 2 of 2


Re:   JEFFREY CHUNG
      Docket Number: 1:04CR05028-01 OWW
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                ORDER OF COURT

It is ordered that Jeffrey Chung be discharged from supervised release, and that the
proceedings in the case be terminated.
IT IS SO ORDERED.

Dated: July 29, 2008                     /s/ Oliver W. Wanger
emm0d6                              UNITED STATES DISTRICT JUDGE




                                                                                                   R ev. 05/2006
                                                        E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
